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  Please find attached to this email a Brady letter on behalf of Mr. Constantinescu.

  Thank you,
  --
  Cara J. Filippelli
  Associate
  FORD O’BRIEN LANDY LLP
  3700 Ranch Road 620 South
  Austin, Texas 78738
  --
  275 Madison Avenue
  24th Floor
  New York, New York 10016
  Tel: +1 (212) 858-0040
  cfilippelli@fordobrien.com
  fordobrien.com

  [Quoted text hidden]


        03.01.2023 Constantinescu Brady Letter.pdf
        641K


Matthew Aaron Ford <mford@fordobrien.com>                                                  Wed, Mar 8, 2023 at 2:22 PM
To: "Liolos, John (CRM)" <John.Liolos@usdoj.gov>
Cc: Emily Bratton <ebratton@fordobrien.com>, "Carter III, Thomas (USATXS)" <Thomas.Carter.III@usdoj.gov>, Cara
Filippelli <cfilippelli@fordobrien.com>, "Armstrong, Scott (CRM)" <Scott.Armstrong@usdoj.gov>

  John,
  Do you have any update on the Bill of Particulars or Brady material? Are you objecting to either?
  Best,
  Matt

  Matthew Aaron Ford
  Partner
  Ford O’Brien Landy LLP
  3700 Ranch Road 620 South
  Suite B
  Austin, Texas 78738
  512.503.6388 (direct)
           --
  275 Madison Avenue
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  New York, New York 10016
  212.858.0040
  212.444.4886 (direct)
  mford@fordobrien.com
  fordobrien.com
  [Quoted text hidden]



Liolos, John (CRM) <John.Liolos@usdoj.gov>                                                Wed, Mar 8, 2023 at 11:30 PM
To: Matthew Aaron Ford <mford@fordobrien.com>
Cc: Emily Bratton <ebratton@fordobrien.com>, "Carter III, Thomas (USATXS)" <Thomas.Carter.III@usdoj.gov>, Cara
Filippelli <cfilippelli@fordobrien.com>, "Armstrong, Scott (CRM)" <Scott.Armstrong@usdoj.gov>
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Matt,



With respect to the tickers, we will be providing by the end of the month a list of tickers and time ranges relevant to the
profit allegations in paragraph one of the Superseding Indictment.



With respect to the Brady requests, we understand our discovery obligations, have complied with them, and will
continue to do so.



With respect to the rest of your requests, we otherwise decline to disclose the requested information at this time.



Regards,

John



John J. Liolos

Trial Attorney

Criminal Division, Fraud Section

U.S. Department of Justice

1400 New York Avenue NW

Washington, DC 20005

202-768-2246

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